      9:22-cr-00658-RMG        Date Filed 09/20/22       Entry Number 58       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

 United States of America,                           Case No. 9:22-cr-00658-RMG

               v.

 Russell Lucius Laffitte,

                        Defendant.


                    MOTION TO AMEND ORDER GOVERNING DISCOVERY

       The Defendant, Russell Lucius Laffitte, without objection by the United States of America,

hereby respectfully moves this Court for an Order amending its July 27, 2022, Order Governing

Discovery. [ECF 19] Specifically, the Defendant requests that language be incorporated into

Paragraph 4 of the Order Governing Discovery to allow for defense counsel to disclose the contents

of and allow the review of discovery furnished by the United States and labeled as “restricted

materials” in the presence of counsel or counsel’s employees to the Defendant, any person

employed by, retained by, or associated with counsel who is assisting in the defense and trial

preparation.

       WHEREFORE, the Defendant, Russell Lucius Laffitte, without objection of the United

States of America, respectfully requests that the Court enter the proposed Amended Order

Governing Discovery attached hereto as Exhibit 1.




                                     [signature page to follow]
     9:22-cr-00658-RMG       Date Filed 09/20/22      Entry Number 58     Page 2 of 2




                                  Respectfully submitted,

                              NELSON MULLINS RILEY & SCARBOROUGH LLP

                              By: /s/ E. Bart Daniel
                                 E. Bart Daniel
                                 Federal Bar No. 403
                                  E-Mail: bart.daniel@nelsonmullins.com
                                  Matt Austin
                                  Federal Bar No. 11435
                                  E-Mail: matt.austin@nelsonmullins.com
                                  151 Meeting Street / Sixth Floor
                                  Post Office Box 1806 (29402-1806)
                                  Charleston, SC 29401-2239
                                  (843) 853-5200
                              Attorneys for Russell Lucius Laffitte

Charleston, South Carolina

September 20, 2022




                                             2
